Case 20-40006-JJR   Doc 7   Filed 02/10/20 Entered 02/10/20 15:58:49   Desc Main
                            Document     Page 1 of 25
Case 20-40006-JJR   Doc 7   Filed 02/10/20 Entered 02/10/20 15:58:49   Desc Main
                            Document     Page 2 of 25
Case 20-40006-JJR   Doc 7   Filed 02/10/20 Entered 02/10/20 15:58:49   Desc Main
                            Document     Page 3 of 25
Case 20-40006-JJR   Doc 7   Filed 02/10/20 Entered 02/10/20 15:58:49   Desc Main
                            Document     Page 4 of 25
Case 20-40006-JJR   Doc 7   Filed 02/10/20 Entered 02/10/20 15:58:49   Desc Main
                            Document     Page 5 of 25
Case 20-40006-JJR   Doc 7   Filed 02/10/20 Entered 02/10/20 15:58:49   Desc Main
                            Document     Page 6 of 25
Case 20-40006-JJR   Doc 7   Filed 02/10/20 Entered 02/10/20 15:58:49   Desc Main
                            Document     Page 7 of 25
Case 20-40006-JJR   Doc 7   Filed 02/10/20 Entered 02/10/20 15:58:49   Desc Main
                            Document     Page 8 of 25
Case 20-40006-JJR   Doc 7   Filed 02/10/20 Entered 02/10/20 15:58:49   Desc Main
                            Document     Page 9 of 25
Case 20-40006-JJR   Doc 7    Filed 02/10/20 Entered 02/10/20 15:58:49   Desc Main
                            Document      Page 10 of 25
Case 20-40006-JJR   Doc 7    Filed 02/10/20 Entered 02/10/20 15:58:49   Desc Main
                            Document      Page 11 of 25
Case 20-40006-JJR   Doc 7    Filed 02/10/20 Entered 02/10/20 15:58:49   Desc Main
                            Document      Page 12 of 25
Case 20-40006-JJR   Doc 7    Filed 02/10/20 Entered 02/10/20 15:58:49   Desc Main
                            Document      Page 13 of 25
Case 20-40006-JJR   Doc 7    Filed 02/10/20 Entered 02/10/20 15:58:49   Desc Main
                            Document      Page 14 of 25
Case 20-40006-JJR   Doc 7    Filed 02/10/20 Entered 02/10/20 15:58:49   Desc Main
                            Document      Page 15 of 25
Case 20-40006-JJR   Doc 7    Filed 02/10/20 Entered 02/10/20 15:58:49   Desc Main
                            Document      Page 16 of 25
Case 20-40006-JJR   Doc 7    Filed 02/10/20 Entered 02/10/20 15:58:49   Desc Main
                            Document      Page 17 of 25
Case 20-40006-JJR   Doc 7    Filed 02/10/20 Entered 02/10/20 15:58:49   Desc Main
                            Document      Page 18 of 25
Case 20-40006-JJR   Doc 7    Filed 02/10/20 Entered 02/10/20 15:58:49   Desc Main
                            Document      Page 19 of 25
Case 20-40006-JJR   Doc 7    Filed 02/10/20 Entered 02/10/20 15:58:49   Desc Main
                            Document      Page 20 of 25
Case 20-40006-JJR   Doc 7    Filed 02/10/20 Entered 02/10/20 15:58:49   Desc Main
                            Document      Page 21 of 25
Case 20-40006-JJR   Doc 7    Filed 02/10/20 Entered 02/10/20 15:58:49   Desc Main
                            Document      Page 22 of 25
Case 20-40006-JJR   Doc 7    Filed 02/10/20 Entered 02/10/20 15:58:49   Desc Main
                            Document      Page 23 of 25
Case 20-40006-JJR   Doc 7    Filed 02/10/20 Entered 02/10/20 15:58:49   Desc Main
                            Document      Page 24 of 25
Case 20-40006-JJR   Doc 7    Filed 02/10/20 Entered 02/10/20 15:58:49   Desc Main
                            Document      Page 25 of 25
